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     8                        UNITED STATES DISTRICT COURT
     9                      CENTRAL DISTRICT OF CALIFORNIA
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    11   ANTHONY BELL,                  )                Case No.: CV15-6171 DSF (PJWx)
                                        )
    12             Plaintiff,           )
                                        )
    13                                  )               JUDGMENT
              v.                        )
    14                                  )
                                        )
    15   RAMIN BRAL; et. al,            )
                                        )
    16             Defendants.          )
                                        )
    17   ______________________________ )
    18
    19
                The Court having granted the motion for summary adjudication by
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         Defendant Kimleang Say, and having previously dismissed Defendant Ramin Bral
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         with prejudice subject to an agreement that Kimleang Say not take the position at
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         trial, or during any other stage of proceedings in this case, that the
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         violations/breaches that were the subject of Plaintiff’s First Amended Complaint
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         were the result of any act, omission, or breach of duty by Ramin Bral, and having
    25
         dismissed the state law claims without prejudice pursuant to 28 U.S.C. § 1367(c),
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    27
    28
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     1         IT IS ORDERED AND ADJUDGED that the Plaintiff Anthony Bell take
     2   nothing and that Defendant Kimleang Say recover the costs of suit pursuant to a
     3   bill of costs filed in accordance with 28 U.S.C. § 1920.
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     5
     6             9/20/16
     7   Dated: _________________                     ____________________________
     8                                                        Dale S. Fischer
     9                                                   United States District Judge

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